                   UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

In re:

SMR Equestrian, LLC,                                 Case No. 19-42698-TJT
                                                     Chapter 7
               Debtor.                               Hon. Thomas J. Tucker
______________________________/

       TRUSTEE’S MOTION FOR ORDER APPROVING SALE OF
      BUSINESS ASSETS FREE AND CLEAR OF LIENS, CLAIMS,
       AND ENCUMBRANCES WITH ALL LIENS, CLAIMS, AND
     ENCUMBRANCES ATTACHING TO THE PROCEEDS OF SALE

                                    Jurisdiction

         1.   SMR Equestrian, LLC filed a petition for relief under Chapter 7 of the

U.S. Bankruptcy Code on February 26, 2019. Mark H. Shapiro is the Chapter 7

Trustee for the Debtor’s bankruptcy estate.

         2.   This motion is brought under 11 U.S.C. § 363 and B.R. 6004(c).

         3.   This is a core proceeding over which this Court has jurisdiction. See

28 U.S.C. § 157(b)(2)(A) and (N) and 28 U.S.C. § 1334.

                                    Background

         4.   The Debtor operates a horse riding school and boarding facility in

Oakland County, Michigan.

         5.   When the bankruptcy was filed, the Debtor owned, among other

things, the following assets:




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            Scheduled Asset                                Scheduled Value

Horse boarding and horse lease                  Unknown
agreements
Accounts Receivable, less than 90 days          $19,379
old
Accounts Receivable over 90 days old,           $0
likely uncollectable $21,000
6 horses                                        $13,500

Horse training and related items                $5,875

Feed and supplements                            $600

Office furniture                                $0

2017 American Dump Trailer                      $2,000

website: www.smrequestrian.com                  unknown

John Deere Utility Tractor and Loader           $20,000 (subject to security interest of
                                                John Deere Financial)

(the “Business Assets”).

      6.    Some of the horse-lease agreements have already expired, others will

expire in the summer of 2019. The boarding agreements are verbal or short-term

and service based. The Trustee believes that the horse-lease and boarding

agreements have minimal, if any, value.

      7.    Since the case was filed, receivables owing for less than 90 days have

reduced to approximately $4,300 and receivable over 90 days have reduced to

approximately $15,000.



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       8.    Ascend Equestrian, LLC is interested in purchasing the Business

Assets for $25,383.16 ($14,000 cash plus a credit for $11,383.16 in expenses paid

to keep the business operating post-petition).

       9.    With the exception of the John Deere Utility Tractor and Loader, the

Business Assets will be sold free and clear of liens, claims, and interests. The John

Deere Utility Tractor and Loader will be sold subject to all liens, claims, and

interests.

       10.   The Trustee has accepted the offer subject to further competitive

bidding and bankruptcy court approval.

       11.   The estate’s interest in the Business Assets will be sold as is, without

representation or warranties, whether expressed or implied, including, but not

limited to, any warranties of merchantability or fitness for a particular purpose.

       12.   The Trustee and Ascend Equestrian have negotiated in good faith, and

this is an arms-length transaction.

                    Basis for Authority to Sell Business Assets

       13.   A trustee “after notice and a hearing, may use, sell, or lease, other

than in the ordinary course of business, property of the estate.” 11 U.S.C. § 363(b).

       14.   Section 363(g) permits the Trustee to sell property free and clear of

any vested or contingent right of dower or curtesy.




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      15.    A trustee may sell property of the estate free and clear of all liens,

claims, and interests asserted in or against the property being sold if—

              Such a sale is permitted under applicable nonbankruptcy law;

              The party asserting the interest consents to the sale;

              The property interest is a lien and the price at which such property
               is to be sold is greater than the aggregate value of all liens on such
               property;

              The property interest is subject to a bona fide dispute; or

              The party asserting the property interest could be compelled, in a
               legal or equitable proceeding, to accept a money satisfaction for
               such interest.

11 U.S.C. § 363(f).

      16.    The Court may approve a sale free and clear of all property interests,

so long as one of the requirements of § 363(f) is satisfied. See In re Elliot, 94 B.R.

343, 345 (D. Pa. 1988).

      17.    The Trustee believes that any property interest asserted against the

Business Assets (with the exception of the John Deere Utility Tractor and Loader)

would be subject to money satisfaction or meet one of the other § 363(f)

requirements.

      18.    To the extent that any property interests are asserted against the

Business Assets (with the exception of the John Deere Utility Tractor and Loader),




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those property interests will attach to the net proceeds of sale with the same

validity and priority as they attach to the estate’s interest in the Business Assets.

      19.       The Trustee believes that a sound business justification exists for the

sale. The Business Assets are not necessary for any reorganization effort; the sale

is not subject to a commission or brokerage fee; and there is non-exempt equity in

the Business Assets.

                                 Additional Sale Terms

      20.       An auction sale of the Business Assets is set for April 17, 2019, at the

offices of Trustee’s counsel, Steinberg Shapiro & Clark.

      21.       On or before April 12, 2019, persons wishing to submit competing

bids must provide Trustee’s counsel with a cashier’s check or money order deposit

in the amount of at least $2,000, payable to “Mark H. Shapiro, Trustee”. The

successful bidder’s deposit will be non-refundable and applied towards the

purchase price. Interested bidders must also provide evidence of an ability to fund

the sale. The Trustee will maintain sole discretion to determine if interested bidders

are qualified to bid based on their ability to close.

      22.       Competing bids will begin at $28,000 and continue in increments of at

least $1,000.




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      23.    The 14-day stay provided for in Bankruptcy Rule 6004(h) shall not be

in effect with respect to the sale, and the proposed order will be effective and

enforceable immediately upon entry.

      24.    Ascend Equestrian will be deemed a good faith purchaser for purposes

of 11 U.S.C. § 363(m).

                                 Request for Relief

      The Trustee requests that this Court enter an order approving the proposed

sale and granting such further relief as this Court deems appropriate.

                                               Steinberg Shapiro & Clark


                                               /s/ Tracy M. Clark (P60262)
                                               Attorney for Trustee
                                               25925 Telegraph Rd., Suite 203
                                               Southfield, MI 48033
                                               (248) 352-4700
                                               clark@steinbergshapiro.com
Date: March 26, 2019




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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

In re:

SMR Equestrian, LLC,                                          Case No. 19-42698-TJT
                                                              Chapter 7
               Debtor.                                        Hon. Thomas J. Tucker
______________________________/

            ORDER APPROVING SALE OF BUSINESS ASSETS
              FREE AND CLEAR OF LIENS, CLAIMS, AND
           ENCUMBRANCES WITH ALL LIENS, CLAIMS, AND
        ENCUMBRANCES ATTACHING TO THE PROCEEDS OF SALE

         Chapter 7 Trustee Mark H. Shapiro filed a motion to sell the Business

Assets 1 described in the motion to for at least $25,383.16. All parties in interest

were served with notice of the motion, and no objections were timely filed.

          IT IS ORDERED as follows:

          A.     The Trustee’s motion is granted in its entirety.

          B.     The proposed sale of the Business Assets for at least $25,383.16 is

approved.

          C.     The Trustee may close the sale on the offer made by Ascend

Equestrian, LLC, or, if an auction is held as provided in the Trustee’s motion, the

Trustee will select the bid at the conclusion of the auction that the Trustee believes

to be the highest or best value for the property and close with the selected bidder.


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    The assets that comprise the Business Assets are described in the Trustee’s motion.



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      D.     The successful purchaser at the public sale, or Ascend Equestrian,

LLC if no auction is held, must pay the full amount of the successful bid to “Mark

H. Shapiro, Trustee” within 24 hours after the date set for the public sale.

      E.     If the Business Assets are sold to Ascend Equestrian, LLC, Ascend

will receive a credit of $11,383.16 toward the purchase price for expenses paid by

Ascend to keep the business operating post-petition.

      F.     Upon receipt of the purchase price, the Trustee shall provide the

successful purchaser with a bill of sale evidencing the transfer of the estate’s

interest in the Business Assets to the successful purchaser.

      G.     Title to the Business Assets will transfer “as is, where is,” and without

representation or warranty, expressed or implied, of any kind, nature, or

description, including, without limitation, any warranty of title or of

merchantability, usability, or fitness for any particular purpose.

      H.     With the exception of the John Deere Tractor and Utility Trailer, the

Business Assets are sold free and clear of all liens, claims, and encumbrances, with

all such liens, claims, and encumbrances attaching to the net proceeds of sale to the

same extent and having the same validity, priority, and enforceability as such

interests had with respect to the Business Assets immediately before the sale. Any

issue regarding the extent, validity, priority, and/or enforceability of any liens,




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claims, or encumbrances against the sale proceeds will be determined by this court

at a later date.

       I.     The estate’s interest in the John Deere Tractor and Utility Trailer is

sold subject to liens, claims and interests.

       J.     The Trustee may execute all documents and agreements and perform

such acts as may be necessary and appropriate to implement, effectuate, and

consummate the sale.

       K.     All federal, state, and local governmental agencies and departments

are ordered and directed to accept all filings necessary and appropriate to

consummate the transactions contemplated by this order.

       L.     The 14-day stay provided for in Bankruptcy Rule 6004(h) shall not be

in effect with respect to the sale, and this order is effective and enforceable

immediately upon entry.

       M.     Ascend Equestrian LLC is deemed a good faith purchaser for

purposes of 11 U.S.C. § 363(m).

       N.     The Court shall retain jurisdiction to enforce the terms of this order.




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                   UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

In re:

SMR Equestrian, LLC, xx-xxx6524                      Case No. 19-42698-TJT
3255 Stoney Creek Road                               Chapter 7
Oakland Township, MI 48363                           Hon. Thomas J. Tucker

               Debtor.
______________________________/

NOTICE OF TRUSTEE’S MOTION FOR ORDER APPROVING SALE OF
    BUSINESS ASSETS FREE AND CLEAR OF LIENS, CLAIMS,
     AND ENCUMBRANCES WITH ALL LIENS, CLAIMS, AND
   ENCUMBRANCES ATTACHING TO THE PROCEEDS OF SALE

The Trustee of SMR Equestrian, LLC’s bankruptcy estate intends to sell, for at
least $25,383.16, the bankruptcy estate’s interest in certain business assets. The
Debtor operates a horse riding school and boarding facility in Oakland County,
Michigan. When the bankruptcy was filed, the Debtor owned, among other things,
the following assets: horse boarding and horse lease agreements, accounts
receivable, six horses, horse training and related items, feed and supplements,
office furniture, 2017 American Dump Trailer, website: www.smrequestrian.com,
John Deere Utility Tractor and Loader (subject to security interest of John Deere
Financial) (the “Business Assets”). Some of the horse-lease agreements have
already expired, others will expire in the summer of 2019. The boarding
agreements are verbal or short-term and service based. The Trustee believes that
the horse-lease and boarding agreements have minimal, if any, value. Since the
case was filed, receivables owing for less than 90 days have reduced to
approximately $4,300 and receivable over 90 days have reduced to approximately
$15,000. Ascend Equestrian, LLC is interested in purchasing the Business Assets
for $25,383.16 ($14,000 cash plus a credit for $11,383.16 in expenses paid to keep
the business operating post-petition). With the exception of the John Deere Utility
Tractor and Loader, the Business Assets will be sold free and clear of liens, claims,
and interests. The John Deere Utility Tractor and Loader will be sold subject to all
liens, claims, and interests.




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        Date of public sale:          April 17, 2019, at 10:00 a.m. EST 1

        Location of sale:             Offices of Steinberg Shapiro & Clark 2
                                      25925 Telegraph Rd. Suite 203
                                      Southfield, MI 48033

Terms of sale: This is a cash sale. Prospective bidders are required to provide the
Trustee with a cashier’s check or money order deposit in the amount $2,000 no
later than April 12, 2019; and adequate documentation to show an ability to fund
the sale. Competing bids will begin at $28,000 and continue in increments of
$1,000. The successful purchaser’s deposit will be non-refundable and applied
toward the purchase price. The balance of the purchase price is due within 24 hours
after the date of the public sale. Other terms and conditions may be obtained by
contacting Tracy M. Clark, attorney for Trustee, at (248) 352-4700.

Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not
have an attorney, you may wish to consult one.)

If you do not want the Court to grant the Trustee’s motion, or if you want the Court
to consider your views on the motion, then within 14 days from the date this notice
is served you or your attorney must:

File with the Court a written objection or request for hearing, explaining your
position at: 3

        U.S. Bankruptcy Court
        211 West Fort Street
        Detroit, Michigan 48226

If you mail your objection or request for hearing to the Court for filing, you must
mail it early enough to the Court will receive it before the 14 day period expires.
All attorneys are required to file pleadings electronically.




1
  The date and time of the sale is subject to change by the Trustee with notice to prospective
bidders that have timely submitted deposits.
2
  Bidders may participate by phone.
3
  Objection or request for hearing must comply with Fed. R. Civ. P. 8(b), (c), and (e).

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Serve a copy on:

      Tracy M. Clark, Esq.
      Steinberg Shapiro & Clark
      25925 Telegraph Rd., Suite 203
      Southfield, Michigan 48033

If an objection or request for hearing is timely filed, the clerk will schedule a
hearing on the motion and you will be served with a notice of the date, time, and
location of the hearing.

If you or your attorney do not take these steps, the Court may decide that you
do not oppose the relief sought in the motion and may enter an order granting
that relief.
                                           Steinberg Shapiro & Clark


                                              /s/ Tracy M. Clark (P60262)
                                              Attorney for Trustee
                                              25925 Telegraph Rd., Suite 203
                                              Southfield, MI 48033
                                              (248) 352-4700
                                              clark@steinbergshapiro.com
Date: March 26, 2019




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                    UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
In re:

SMR Equestrian, LLC,                                  Case No. 19-42698-TJT
                                                      Chapter 7
               Debtor.                                Hon. Thomas J. Tucker
______________________________/

                            CERTIFICATE OF SERVICE

         I certify that on March 26, 2019, I served copies as follows:

 Documents Served:          Trustee’s Motion for Order Approving Sale of
                            Business Assets Free and Clear of Liens, Claims, and
                            Encumbrances with all Liens, Claims, and
                            Encumbrances Attaching to the Proceeds of Sale; 14
                            Day Notice; Certificate of Service

 Served Upon:               Henry Wineman, Esq.
                            Frasco Caponigro Wineman
                            Scheible Hauser & Luttmann
                            1301 W Long Lake Rd., Suite 250
                            Troy, MI 48098
                            hw@frascap.com

 Method of Service:         Email

 Documents Served:          Trustee’s Motion for Order Approving Sale of
                            Business Assets Free and Clear of Liens, Claims, and
                            Encumbrances with all Liens, Claims, and
                            Encumbrances Attaching to the Proceeds of Sale; 14
                            Day Notice; Certificate of Service

 Served Upon:               John Deere Financial
                            Deere & Company
                            6400 NW 86th Street
                            PO Box 6600
                            Johnson, IA 50131-6600


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Method of Service:       First Class Mail

Document Served:         Notice of Trustee’s Motion for Order Approving Sale
                         of Business Assets Free and Clear of Liens, Claims,
                         and Encumbrances with all Liens, Claims, and
                         Encumbrances Attaching to the Proceeds of Sale

Served Upon:             All non-ECF parties listed on attached Official Court
                         Matrix

Method of Service:       First Class Mail



                                             /s/ Christine T. Leach, Legal Assistant
                                             Steinberg Shapiro & Clark
                                             Attorneys for Trustee
                                             25925 Telegraph Rd., Suite 203
                                             Southfield, MI 48033
                                             (248) 352-4700
                                             cleach@steinbergshapiro.com




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Label Matrix for local noticing                  Amy Diez                                  Ashley Craine
0645-2                                           5465 N. Livernois                         2425 Texter Rd.
Case 19-42698-tjt                                Oakland Twp., MI 48306-2531               Leonard, MI 48367-3031
Eastern District of Michigan
Detroit
Tue Mar 26 14:52:59 EDT 2019
Bob Bockrath                                     Cassar Farms                              Chase (INK) / Cardmember Service
2871 Ambleside Ct.                               8298 Lake Pine Drive                      Account Inquiries)
Rochester, MI 48306-4920                         Commerce Township, MI 48382-4571          PO Box 15298
                                                                                           Wilmington, DE 19850-5298


Tracy M. Clark                                   Denise Gutek                              (p)DISCOVER FINANCIAL SERVICES LLC
Steinberg Shapiro & Clark                        2012 Dunham Dr.                           PO BOX 3025
25925 Telegraph Rd.                              Rochester, MI 48306-4804                  NEW ALBANY OH 43054-3025
Suite 203
Southfield, MI 48033-2527

Ed Gemellaro (obo Elaina Gemellaro)              Fernando Quirindongo                      Home Depot Credit Services
6023 Blue Beech Rd.                              fbo Alana Quirindongo, a minor            Customer Service Inquiries
Rochester Hills, MI 48306-3501                   4076 Old Dominion Drive                   PO Box 790328
                                                 West Bloomfield, MI 48323-2653            Saint Louis, MO 63179-0328


Internal Revenue Service                         Internal Revenue Service***               Jill Schubiner
SBSE/Insolvency Unit                             Centralized Insolvency Operations         1061 N. Old Woodward
P.O. Box 330500-Stop 15                          PO Box 7346                               Birmingham, MI 48009-5409
Detroit, MI 48232                                Philadelphia, PA 19101-7346


John Deere Financial                             Kimberly Wiggins                          Kimberly Williams
Deere & Compamy                                  950 Harmon                                776 Ridgedale Ave.
6400 NW 86th Street                              Birmingham, MI 48009-1333                 Birmingham, MI 48009-5786
PO Box 6600
Johnston, IA 50131-6600

Larry Robertson                                  Michael D. Lieberman                      Linda & Brett Stern
1142 Maple Leaf Drive                            31313 Northwestern Hwy.                   984 Oakland Ave.
Rochester Hills, MI 48309-3715                   Suite 200                                 Birmingham, MI 48009-5759
                                                 Farmington Hills, MI 48334-2577


Lisa Capoccia                                    Maryann Combs                             Melissa Kassin
5250 Hummer Lake                                 3585 Stoney Creek Rd.                     3125 Silverbrok Drive
Oxford, MI 48371-2806                            Oakland, MI 48363-1851                    Rochester Hills, MI 48306-1499



NL-REL, LLC                                      Neil & Renee Fraser                       Oakland Hills Equestrian Center, LLC
30100 Telegraph Rd., Suite 366                   3790 Piccadilly Drive                     3255 Stoney Creek Road
Bingham Farms, MI 48025-5800                     Rochester Hills, MI 48309-4537            Oakland, MI 48363-1848



Oakland Hills Equestrian Center, LLC             SMR Equestrian, LLC                       Sarah Meyers
c/o Maxwell Goss, Esq.                           3255 Stoney Creek Road                    2760 International Dr.
370 E. Maple Rd., Third Floor                    Oakland Township, MI 48363-1848           Apt. 622C
Birmingham, MI 48009-6303                                                                  Ypsilanti, MI 48197-8524
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Sarah Robertson                                      Mark H. Shapiro                                      Mark H. Shapiro
3255 Stoney Creek Road                               25925 Telegraph Rd.                                  Steinberg Shapiro & Clark
Oakland, MI 48363-1848                               Suite 203                                            25925 Telegraph Rd.
                                                     Southfield, MI 48033-2527                            Suite 203
                                                                                                          Southfield, MI 48033-2527

Stephen P. Stella                                    Stephanie Marcus                                     Steven Flannery
645 Griswold                                         3460 Grove Lane                                      30714 Helmandale Dr.
Ste. 3466                                            Auburn Hills, MI 48326-3980                          Franklin, MI 48025-1577
Detroit, MI 48226-4216


Susan Hallinan                                       Susan Williams                                       Suzanne Sadek
10705 Kingston Ave.                                  3012 Talon Circle                                    1323 Northlawn Blvd.
Huntington Woods, MI 48070-1115                      Lake Orion, MI 48360-2608                            Birmingham, MI 48009-5007



Timothy Sullivan                                     Timothy Sullivan                                     United States Attorney
3255 Stoney Creek Road                               c/o Maxwell Goss, Esq.                               Civil Division
Oakland, MI 48363-1848                               370 E. Maple Rd., Third Floor                        211 West Fort Street, Ste. 2001
                                                     Birmingham, MI 48009-6303                            Detroit, MI 48226-3220




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Discover Financial Services
PO Box 15316
Wilmington, DE 19850




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Larry M. Robertson                                (u)Tracy Reinhold                                    End of Label Matrix
                                                     Address unknown                                      Mailable recipients    41
                                                                                                          Bypassed recipients     2
                                                                                                          Total                  43




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